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  Account may be in Catirornla or any other state selected by PAN in Its sole discretion. Client agrees that the Custodial Account will not be
  used for any illegal purpose, and Client agrees to derend, indemnify and hold PAN harmless from a n y claims or demands related thereto
  whenever arising or discovered.

   Client agrees that sufficient funds will be available In the Designated Account at least three (3) business days prior to date of all scheduled
   ACH debits. Client understands and agrees that to stop or change a scheduled debit rrom the Designated Account, Client must notify PAN at
   least three (3) business days prior to any such change. In the event Client's Designated Account does not have sufficient funds ror a
   scheduled debit, PAN will not be liable to any third party due to Insufficient funds, restriction or dishonor related to Client's account. Client
   authorizes PAN to recover any funds arising rrom a NSF, dishonor, or error in debiting the Designated Account. At its sote discretion, PAN may
   recover any such runds by means of a debit to the Designated Account and/or the Custodial Account. Client agrees to defend, Indemnify and
   hold PAN harmless from any claims or demands related thereto whenever arising or discovered. If Client's Custodian Account is suspended,
   cancelled, or otherwise terminated for any reason end the account has a negative balance, Client agrees to pay the negative balance upon
   demand. Should Client fall to remit the full amount of such negative balance, Client shall remain responsible for the deficit and collectlon
   actions may be pursued against Client.

   Client has an agreement with Service Provider, and the Payment Schedule Is part of that agreement. Client directs and authorizes PAN lo
   share Information with Service Provider as required by Service Provider and with any other authorized parties involved In the administration of
   the Custodial Account on Client's behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to Client
   as an independent third party. Client agrees that PAN is not Involved or engaged in any respect with the services provided by the Service
   Provider, other than acting as a third-party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be responslble
   for determining when a payment Is due or whether a payment Is for the correct amount or otherwise proper. PAN's sole obligatlon shall be to
   execute Client's payment instructlons In a commercially reasonable manner as soon as practical after receipt of such instructions or after the
   occurrence of the specified event authorizing release of a payment on behalf of Client. PAN shall not be liable for any conduct by Service
    Provider or for penalty or other charge levied by anyone on Client, for any failure of anyone lo honor a transaction or for any other adverse
   action taken or not taken by any other party In connection with the Services. Under no circumstances shall PAN be liable for any special,
   Incidental, consequential, exemplary, or punitive damages.

   PAN will provide Client an internet login with a login name and password for viewing the funds held In the Custodial Account and all transactions
   related to Client via a protected website. Use of Client's passcode, password or any other form of identification designated by Client in any
   transaction constitutes and will be accepted as Client's electronic signature, as that term is used in the federal Electronic Signature in G1obaI
   and National Commerce law and other applicable laws.

                                                                                                                           •
   Client's funds are held in the Custodial Account pending Client's Instructions for disbursement. Client has sole authority to authorize
   disbursements or transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you. via
   the Service Provider or by a third party you have authorized in whatever form provided, Including but not limited to any lnstrucUons provided
   via email, PAN's website, E-slgnature, or other writing, verbally, by voicemail or any other means of communication. If Client Is more than one
   person, PAN may act upon receipt the instructions of either person: however, if conflicting Instructions are received before any action has
   been taken, PAN may in its sole discretion refrain from taking any action until it receives joint instructions from all Clients or a

   court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement
   irutPtions provided by Client other than as expressly provided by this Agreement.



    Client may revoke any prior payment authorization at any lime before such payment has been Initiated by completing and submitting a
    Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN's Contact Information below.

    PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any reason,
    PAN shall arrange for Client's remaining funds, apart from any funds due to be paid lo the Service Provider or any other person or entity as a
    result of the occurrence of specified events prior to delivery of lhe termination notice, to be transmitted from the Custodial Account to the
    Designated Account.

    Client agrees that an disclosures, account activity, notifications and any other communications related to the Services may be distributed to
    Client by electronic mail or through PAN's software services. Client acknowledges that Client Is able to eleclronlca11y receive, download and
    print such information and communications. If Client Is unable to communicate electronically for any reason, Client agrees to notify PAN
    immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

    Client understands and agrees lhat all calls to and from PAN are monitored and recorded. Client verifies that the telephone and cellular phone
    numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages and/or auto
    dialed calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN or Its agents,
    even if your phone number Is registered on any state or federal "Do Not Call" list. You may incur a charge for such calls by your telephone
    carrier. PAN may obtain and contact email addresses and phone numbers provided by you dlreclly or obtained through other lawful means.
    Your consent to this provision is not required as a condition of entering into this Agreement, and you may opt out from consenting to these
    provisions by contacting PAN in writing at PAN's Contact informatlon below.

    You agree to provide notice within 30 days of any change to your email address or phone numbers by writing to PAN's Contact Information
    below.

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        #           Date              Enrollment Fee                  Monthly Service Fee                 Total Payment
   55       Oct 02, 2023    $0.00                         $19.00                                    $19.00
   56       Nov 02, 2023    $0.00                         $19.00                                    $19.00
   57       Dec 04, 2023    $0.00                         $19.00                                    $19.00
   58       Jan 02, 2024    $0.00                          $19.00                                   $19.00
   59       Feb 02, 2024    $0.00                          $19.00                                   $1 9.00
   60       Mar 04, 2024    $0.00                          $19.00                                   $1 9.00
   61       Apr02, 2024     $0.00                          $19.00                                   $19.00
   62       May 02, 2024    $0.00                          $1 9.00                                  $19.00
   63       Jun 03, 2024    S0.00                          $19.00                                   $19.00
   64       Jul 02, 2024    SO.OD                          $1 9.00                                  $1 9.00
   65       Aug 02, 2024    $0.00                          $19.00                                   $19.00
   66       Sep 03, 2024    $0.00                          $19.00                                   $19.00
   67       Oct 02, 2024    $0.00                          $19.00                                   $19.00
   68       Nov 04, 2024    $0.00                          $19.00                                   $19.00
   69       Dec 02, 2024    $0 . 00                        $19.00                                   $19.00
   70       Jan 02, 2025    $0.00                          $1 9.00                                  $1 9.00
   71       Feb 03, 2025    $0,00                          $19.00                                   S1 9.00
   72       Mar 03, 2025    $0.00                          $19.00                                   S19.00
   73       Apr 02, 2025    $0.00                          $19.00                                   $19.00
   74       May 02, 2025    $0.00                          $1 9.00                                  $19.00
   75       Jun 02, 2025    $0 .00                         $19,00                                   $1 9.00
   76       Jul 02, 2025    $0.00                          $1 9.00                                  S1 9.00
   77       Aug 04, 2025    $0.00                          $19.00                                   $19.00
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   79       Oct 02, 2025    $0.00                          $19.00                                   $19.00
   80       Nov 03. 2025    $0.00                          $19.00                                   S19.00
   81       Dec 02, 2025    $0,00                          $19.00                                   $19.00
   82       Jan 02, 2026    $0.00                          $19.00                                   $1 9.00
   83       Feb 02, 2026    $0.00                          $19.00                                   $19.00
   84       Mar 02, 2026    $0.00                          $19.00                                   $19.00
   85       Apr02, 2026     $0,00                          $19.00                                   $1 9.00
   86       May 04, 2026    $0.00                          $19,00                                   $1 9,00
   87       Jun 02, 2026    $0.00                          $19.00                                   $19.00
   88       Jul 02, 2026    $0.00                          $19.00                                   $19,00
   89       Aug 03, 2026    $0.00                          $19.00                                   $19.00
   90       Sep 02, 2026    $0.00                          $19.00                                   $1 9.00
   91       Oct02, 2026     $0.00                          $19.00                                   $1 9.00
   92        Nov 02, 2026    $0.00                          $19.00                                  $19.00
   9J       Dec 02. 2026    $0.00                          $19.00                                   $19.00
   94        Jan 04, 2027   $0.00                           $19.00                                  $19.00
   95        Feb 02. 2027   $0.00                           $1 9.00                                 $19.00
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    102      Sep 02, 2027    $0.00                          $1 9.00                                 $1 9.00
    103      Oct 04, 2027    $0.00                          $19.00                                  $1 9.00


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    104      Nov 02, 2027    $0.00                          $19.00                                   $19.00
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                              being consolidated. You have 1S days to review this information for
                              accuracy and to make adjustments.
                              Step 4. Account Set•Up We forward payoff information to your federal
                              loan serv cer once your loan(s) is successfully consolidated. Your federal
                              loan serv cer sends you a ·welcome" letter and information about
                              repayment
                              This multi-step process generally takes 60 90 days before the informat on
                              is sent to the federal oan servicer You will rece ve a bill w thin 60 days o f
                              your federal loan servicer receiving your account information.
                              We sincerey appreciate your business, and welcome your feedback!
                              Processing Department
                              Toll Free I (844) S93 8072
                              Fax I (714) 203-6810
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                               Processing Department
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                         PX15
                     Declaration of
                     Jolie Ramsey
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     1    program for each client, and handled all of the required paperwork. I asked the
     2    same questions of each agent and their responses were consistent. I specifically
     3    remember one female agent telling me that Arete worked closely with DOE and
     4    knew things about the process that I did not know; she implied that they had some
     5    sort of inside track with DOE. They advised me that they charged a one-time fee
     6    of $700, which I could pay in three monthly installments, followed by monthly
     7    payments of $39.99 for 36 months. After that, my student loan payments would be
     8    reduced significantly to something less than $39.99 and after 240 months, the
      9   balance of my loan would be forgiven. It was my impression from what Arete said
     10 that Arete would become my loan servicer and that my $39.99 and all future
     11 payments would be applied to my student loan balance. At that time, my monthly
     12 student loan payments were $150.
     13         4.     I tried to be a conscientious consumer. I looked on the Better
     14 Business Bureau's website and saw that it had given Arete an A rating. My
     15 husband, who is an accountant, and I discussed the Arete proposal and determined
     16 that even with the $700 upfront payment, this was a beneficial program. It would
     17 reduce my student loan payments significantly in the near term, which was
     18 important to me at a time when I was trying to reduce monthly expenses. Based on
     19 what the Arete representatives told me, I believed that through Arete, I would pay
     20 an upfront fee of $700, then monthly payments of $39.99 for 36 months, followed
     21   by 240 months of lower payments and loan forgiveness. I specifically asked an
     22 Arete representative if the 36 monthly payments would be applied to my loan
     23 balance and she confirmed that those $39.99 payments they would be applied to
     24 my loan. For these reasons, I agreed to use their services.
     25          5.    Once I agreed to use their services, the Arete representative asked me
     26 several questions. She asked about my income and profession, my household size,
     27 ifl filed taxes jointly with my husband, my contact information, my Social
     28
          Jolie Ramsey Declaration, p. 2 of 4




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PX15 Ramsey Decl.
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     1    Security number ("SSN") and my date of birth. When the representative asked for
     2    my SSN, I asked her why Arete needed that if they were working closely with my
     3    loan servicer and DOE. She said Arete needed to provide my SSN to my loan
     4    servicer in order to get things started.
     5          6.     The Arete representative then emailed me a contract and other papers
     6    to e-sign. I read the documents on my computer and they seemed in line with what
     7    the Arete representatives had told me, so I signed the documents. Unfortunately, I
     8    no longer have copies of any of the Arete emails or documents that they sent me. I
     9    also provided Arete with my debit card number for payment. Shortly after I signed
     10 up, Arete debited my checking account for the first payment of $230. Attachment
     11 A is a true and correct screenshot of my joint bank statement showing that charge.
     12 The name at the top left of the bank statement is that of my husband, Joshua G.
     13 Ramsey.
     14          7.     Within a couple of weeks of signing the Arete contract, I tried to login
     15 to my student loan account with Mohela, my loan servicer, but I was locked out. I
     16 called Mohela and explained the problem. I told the Mohela representative,
     17 William, that I was working with Arete to pay off my student loan. William
     18 explained that a Request for Forbearance and an Income-Driven Repayment
     19 {"IDR") application had been submitted on my account in the past two days
     20 through studentloans.gov. At that time, I was already on an IDR with Mohela. I
     21 had not signed any Request for Forbearance Request or IDR application. Arete
     22 apparently submitted these forms to studentloans.gov without my knowledge or
     23 authorization. During this conversation, I learned that under the terms of the IDR,
     24 my student loan would not be paid off for 20-25 years. I also learned that none of
     25 the money that I paid to Arete would be applied to my student loan. At that point,
     26 I felt that I has been defrauded.
     27
     28
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     1          8.     I spoke to another person at Mohela, Jordan, who reviewed the IDR
     2    application that Arete filed in my name and on my behalf. Jordan explained that
     3    the IDR indicated that I did not have access to my husband's income information,
     4    which is and was untrue. It also stated that I was financially responsible for
     5    another person other than my spouse or children, which was and is also untrue.
     6    Finally, the application indicated that my income had signifcantly changed since
     7    my last tax return filing, which was also untrue. I also learned that Arete had
     8    cancelled my electronic funds transfer of payments to Mohela, which I did not
      9   know and did not request.
     10        9.    Jordan with Mohela assisted me in cancelling the IDR that Arete filed
     1 1 in my name because I did not want to change payment plans. Once I realized that
     12 Arete had lied to me and falsified information on the IDR application they filed
     13 with Mohela, I wanted nothing more to do with them. Mohela added a PIN to my
     14 account and reset my password. I subsequently called my bank and cancelled my
     15 debit card. I have not been in contact with Arete since then.
     16
     17         I declare under penalty of perjury that the foregoing is true and correct to the
     18 best of my knowledge.
     19
     20
                     -r       (L ni_       , 2019
     21 Dated: VU0j
                                                         Jolie
                                                          ��
                                                               Ramsey
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     28
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                                                                                 ATTACHMENT A




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             PX16 Declaration of
               Angel Rivera
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      I
      2
                                DECLARATION OF ANGEL RIVERA
                                    Pursuant to 28 U.S.C. § 1746             ORIGINAL
      3         I, Angel Rivera, hereby state that I have personal knowledge of the facts set

      4   forth below and am competent to testify about them. If called as a witness, I could
      5   and would testify as follows:
      6         1.     I am over the age of 18 and reside in Delray Beach, Florida. I am a
      7   veteran of the U.S. Army. I graduated from college in 2006 and have between
      8   $6,000 and $7,000 in total student loan debt. I am employed full-time as a
      9   physical therapy assistant.
     10         2.     I have received many unsolicited emails, calls and text messages from
     11 companies offering student loan debt reduction or assistance. Normally, I ignore
     12 them. However, on March 18, 2019, I received a call from a company, Arete
     13 Financial Freedom ("Arete"), that claimed to be working with my loan seivicer,
     14 Maheia, and the Department of Education ("DOE"). The person I spoke to was
     15 Irving Arredondo. Irving told me that Arete would work with my loan servicer and
     16 the DOE to reduce my student loan payments. Although I had been making my
     17 student loan payments on a timely basis, I was interested in reducing the monthly
     18 amount, which was $147.
     19         3.     I told Irving that I was interested in lower monthly payments. He
     20 asked me the amount owing on my loans and the amount of my monthly payments.
     21 It sounded like he was typing and then he told me "you're paying too much." He
     22 said that I should be in a graduated payment plan. Irving also asked if I worked
     23 full-time and the type ofjob that I had. He may have asked other questions but I
     24 do not recall what they were. I think he may have asked for my social security
     25 number and I believe that I provided it to him. He asked for my FSA login ID and
     26 password, but I could not remember what they were. He said that the fact that I di
     27
     28
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      1   not remember my FSA credentials was not a problem because he could get that
     2    information.
     3          4.       Irving never told me that Arete's fee[s] were $800 not, [sic] that this
     4    fee's were not going to be included into my debt account. Otherwise, I would've
     5    not signed up with them. He said that I could pay that fee in three monthly
     6    installments. He said that I would pay three monthly payments of approximately
     7    $266.34 and then $23 a month for 120 months. Because I believed Irving's
     8    statements that Arete was working with Mohela and the DOE and that after I paid
     9    the initial $800 fee, my monthly student loan payments would be reduced to $23, I
     10 told Irving that I wanted to sign up with Arete. While I was on the phone with
     11 Irving, I received two emails, the first one from info@aretefnancialfreedom.com
     12 and the second one from Robert Marquez at aretefinancialfreedom.com.
     13 Attachment A includes true and correct copies of those emails.
     14         5.       The first email had a link to documents that Irving told me to open,
     15 review and e-sign. He rushed me through signing the documents, briefly
     16 describing what I was signing. I told him that I did not have much time and
     17 wanted to continue later. But he urged me to sign them immediately, saying "we
     18 have got to get things going." I did not have access to a computer and opened the
     19 documents on my smartphone. I had trouble reading the documents and once I
     20 signed in one place, the software jumped to the next signature line. I did not read
     21 the documents carefully and instead relied on what Irving told me. Attachment B
     22 includes true and correct copies of the documents that I e-signed. I note that both
     23 the "Student Loan Consolidation Payment Plan Estimate" and the "Preparation
     24 Service Agreement" list, respectively, a "payment amount" and "estimated new
     25 loan payment" of $23.04 for 120 months (pages 4 & 11 of Attachment B).
     26         6.       On March 21, 2019, I received additional emails in succession from
     27 info@aretefinancialfreedom.com, including one providing my customer login
     28 information for studentdebtportal.com, one from noreply@debtpaypro.com with

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.'
      I   information about logging into arete.debtpaypro.com, and one from
      2   brendac@aretefinancialfreedom.com indicating that I had an "update" regarding
      3   my student loans at studentdebtportal.com. I did not read these documents or login
      4   to the referenced portals at that time. True and correct copies of these documents
      5   are included at Attachment C. Soon after this, at his request, I provided Irving
      6   with copies of my most recent federal tax return.
      7         7.    In March, April and May of 2019, Arete charged my credit card
      8   $266.33, $266.33, and $266.34, respectively. On June 3, 2019, I received an email
      9   from Timothy Pham with Arete advising me that I had been approved for a
     1 0 "graduated repayment plan with a monthly payment of $65.35." I thought that this
     11 did not make sense because Irving had told me that my student loan payments were
     12 $23 monthly, which was reflected in the documents that I had previously received.
     13 A true and correct copy of that email is included as Attachment D. I note that the
     14 email states, "Your monthly payment is based off your reported income and family
     1 5 size." However, I do not recall reporting my family size to Irving.
     16         8.     On June 10, 2019, I received a telephone message from my student
     17 loan servicer, Mohela, inquiring �hy I had stopped paying my student loan and
     18 requesting that I call to verify some things that had been done with my account. I
     19 called Mohela back and spoke to a representative who looked up my account. I
     20 explained that I had paid Arete based on its claims that it was working with
     21 Mohela and DOE to reduce my student loan payments. The Mohela representative
     22 that I talked to explained that they did not work with Arete and suggested that I
     23 may have been misled. The Maheia representative suggested that I change my
     24 FSA password to prevent Arete from accessing my account, which I did.
     25         9.     After I spoke to the Mohela representative, I called Arete. I told Arete
     26 that I had spoken to Mohela and they advised me that they did not work with Arete
     27 and that whatever Arete had done had caused my student loan account to become
     28 delinquent. I requested a refund. The Arete representative that I spoke to said that

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        1    I had signed a contract and other papers, they had done what they said they would
        2    do and they were not going to give me a refund. Because they refused my refund
        3    request, on June 10, 2019, I disputed the $799 that I paid to Arete with Chase
        4    Bank, my credit card issuer. On June 11, 2019, I received a letter from Chase
        5    Bank requesting some additional information. I provided the requested
        6    information in handwriting on the letter and returned it to Chase Bank. A true and
        7    correct copy of that letter is appended as Attachment E. The next day, June 12,
        8    2019, I received an email from billing@aretefnancialfreedom.com advising me
        9    that the Company was issuing a $799 credit to my credit card account. A true and
        10 correct copy of that email is included as Attachment F.
        11         10.    Ifl had known that in exchange for my $799, Arete would do little
        12 other than cause my student loan account to become delinquent, I would never
        13 have agreed to sign up with that Company. I wish Arete had told me that I can
        14 make changes to my student loan account, on my own, for free through my student
        15 loan servicer.
        16
        17         I declare under penalty of perjury that the foregoing is true and correct to the
        18 best of my knowledge.
        19
        20 Dated:     g - :)..'1             , 2019
                                                          ��  ;). Rivera
                                                           Angel  (y
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          Fron  <robert.marquez@aretefinancialfreedom.com>
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            Tr. < ---====--@yahoo.com>                                         @yarioo.com



        Below is my contact information.




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        Robert Marquez
        Student Loan Account Manager
        Arete Financial Freedom
        Phone: {949)668-1151
        fax: (714)881-4552
        Address: 1261 E. Dyer Rd.# TOO, Santa Ana, CA 92705
        roberl .marg!!!2@arete tinancia I freedom .com
        www.AreteFinancialfreedom.com

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     Borrower Name               Angel   Rivera

     SECTION 3: BORROWER/ENDORSER UNDERSTANDINGS, CERTIFICATIONS, ANO AUTHORIZATION
                                                                                     Borrower SSN           -
     I understand that:

          • I am not required to make payments of loan pr ncipal or interest during my forbearance, but interest will continue to
            be charged on all my loans.
                                             -
          • My loan holder has sole discretion in whether to grant my general forbearance request and for what dates it will be
            granted.
          • For Perkins Loans, there is a cumulative limit on general forbearance of 3 years. For Direct Loans and FFEL Program
            loans, my loan holder may set a limit on general forbearance.
          • My forbearance will end on the earlier of the end date that I requested, 12 months from the date my forbearance

                                                        -
            begins, or when I exhaust any limit that my loan holder has on forbearance.
          • I can request anotherforbearance after my forbearance ends if I am still experiencing financial hardship.
          • Interest may capitalize on my loans durfng or at the expiration of my forbearance, but interest never capitalizes on
            Perkins Loans.
     I certify that:

          • The information I have provided on this form is true and correct.
          • I will provide additional documentation to my loan holder, if requested, to support my general forbearance request.
          • I will repay my loans according to the terms of my promissory note, even ifmy request is not granted.

                                                                                                • my request or my loans at any
     I authorize the entity to which I submit this request and its agents to contact me regarding
     cellular telephone number that I provide now or in the future using automated telephone dialing equipment or artificial or
     prerecorded voice or text messages.


       Borrower's/Endorser's Signature _           A�,_,lt
                                                       _�  __    Phfl
                                                                  ___
                                                                                        _         Date         03/1 8/2019


     SECTION 4: INSTRUCTIONS FOR COMPLETING THE FORBEARANCE REQUEST
     Type or print using dark ink. Enter dates as month day-year (mm-dd-yyyy) or (mm yyyy) as appropriate Example: March 1 4,
     2016 03-14 201 6. Include your name and account number on any documentation that you may be requested to submit
     with this form. Ifyou want to apply for a forbearance on loans that are held by different loan holders, you must submit a
     separate forbearance request to each loan holder. Return the completed form and any requested documentation to the
     address shown in Section 6.

                                                                                                      •
     If you are an endorser, you may request forbearance only when you are required to repay the loan because the borrower is
     not making payments. If you have a loan made jointly with another borrower (as co makers), you must both individually meet
     the requirements for a forbearance and each of you must request forbearance.




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         #...             Date             Enrollment Fee                               ,'
                                                                        Monthly Service Fee             Total Payment
    2           Apr 29, 2019     $266.33                    $0.00                             $266.33
                                                            •
                                     -•
    3           May 28, 2019     $266.34                    $0.00                             $266.34
    4           Jun 27, 2019     $0 00                      $0.00                             $0.00
    5
                                                                                                    .
                Jul 29, 2019     $0.00                      $0.00                             $0.00
                                                                                              .c
    6           Aug 27, 2019     $0.00                      $0.00                             $0.00'
    7           Sep 27, 2019     $0.00                      •
                                                            $0.00                             $0,00
    8           •'
                Oct 28, 2019     $0.00                      $0.00                             $0,00


                                     ...
    9           Nov 27, 2019     $0.00                        .�
                                                            $0.00                             $0.00


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    10          Dec 27, 2019     $0 00                      $0.00                             $0,00
    11          Jan 27, 2020     $0.00                      $0.00                             $0.00
    12          Feb 27, 2020     "'"'
                                 $0.00                      $0.00                             $0.00
    13          Mar 27, 2020     $0.00                      $0.00                               .
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    14          Apr27, 2020      $0.00                          •
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                          ..
                May 27, 2020
                Jun 29, 2020
                                 $0.00
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    17          Jul 27, 2020     $0.00                      $0.00                             $0.00
    18          Aug 27,    •
                     ... 2020    $0.00                      '
                                                            $0,00
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                ,,.                                          �•
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    19          Sep 28, f
                        2020     $0.00                      $0.00                             $0.00
    20          Oct 27, 2020     $0.00                        '
                                                            $0.00                             $0.00
    21          Nov 27, 2020     $0.00                      $0,00                             $0.00
   22           Dec 28, 2020     $0.00                      $0.00                             $0.00
   •23          Jan 27, 2021     $0.00                      $0.00                             $0,00
    24          Mar 0 1 , 2021   $0,00                      $0.00                             $0.00
   •25          Mar 29, 2021     $0.00                      $0.00                             $0.00
    26                '
                Apr 27, 2021     ,
                                 $0,00                      $0.00                             $0.00
    27          May 27, 2021     $0.00                      $0.00                             $0.00
   28           Jun 28, 2021     $0.00                      $0.00                             $0,00
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    30                .
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    31          Sep 27, 2021     $0.00                      $0.00                             $0.00
    32          Oct 27, 2021     $0.00                      $0.00                             $0.00
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    35          Jan 27, 2022     $0.00                      $0.00                             $0.00
   36           Feb 28, 2022     $0.00                      $0.00                             $0,00
   37           Mar 28, 2022     $0.00                      $0.00                             $0.00
    38          Apr 27, 2022     $0.00                      $0.00                             $0.00
    39          May 27, 2022     $0.00                      $0.00                             $0.00
    40          Jun 27, 2022     $0.00                      $0.00                             $0.00
    41          Jul27, 2022      $0.00                      $0.00                             $0.00
    42          Aug 29, 2022     $0.00                      $0.00                             $0.00
    43          Sep 27, 2022     $0.00                      $0.00                             $0.00
    44          Oct 27, 2022     $0.00                      $0.00                             $0.00
    45                     '.
                Nov 28, 2022     $0.00                      $0.00                             $0.00
    46          Dec 27, 2022     $0.00                      $0.00                             $0.00
    47          •
                Jan 27, 2023     $0.00                      $0.00                             $0.00
    48          Feb 27, 2023     $0.00                      $0.00   ,                         $0.00




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